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            EXHIBIT 2
        Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 2 of 26




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


PAULA BIRD, CLARE COETZER,                         )
SPENCER LEE, LAUREN ROSE,                          )
DANIELLE SNIDER, ERIKA                             )
WESLEY, “B.A.”, “D.A.”, “S.B.”, “D.C.”,            )
“P.E.”, “B.G.”, “L.M.”, “W.M.”, “C.S.”,            )
“L.S.”, “G.T.”, Plaintiffs on behalf of            )
themselves and a class of those similarly          ) Civil Action No. 1:19-CV-1581
situated                                           ) (KBJ)
                                                   )
               Plaintiffs,                         )
                                                   )
v.                                                 )
                                                   )
WILLIAM BARR                                       )
Attorney General of the United States,             )
named in his official Capacity, and                )
head of the Department of Justice,                 )
                                                   )
               Defendants.                         )
                                                   )

DECLARATION OF DAVID SHAFFER IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                    PRELIMINARY INJUNCTION

       1.      I am an attorney admitted to practice in the District of Columbia since 1988. I am

counsel for the Plaintiffs in the above-captioned action, and, specifically Plaintiff Erka Wesley.

       2.      I was also counsel to Ms. Wesley’s supervisor, Mary Martinez in conjunction

with her whistleblowing and EEO claim that she suffered retaliation for reporting earlier

harassment and retaliation against Ms. Wesley and other female members of Ms. Martinez’s

squad. I represented Ms. Martinez in a mediation on that prior complaint on May 14, 2019, with

Assistant General Counsel Chad Tang. The mediation was settled on May 14, 2019 in a

confidential settlement agreement that sought to remove Ms. Martinez from the harassment and

retaliation. Ms. Martinez is now represented by separate counsel.

       3.      This action began with the filing of a class complaint before the EEOC on
         Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 3 of 26




October 23, 2018, which named Erika Wesley as a complainant. On May 29, 2019, the day this

case was filed in this Court, listing Erika Wesley as a named plaintiff, the New York Times

published another story about the filing of the lawsuit, and mentioning Ms. Wesley as a named

plaintiff.

        4.     Prior to the filing of the EEOC Class Complaint on October 23, 2018, I sent a

full copy to the General Counsel, Deputy General Counsel and Attorney for the training division

of the FBI, Amy Armstrong asking them to meet to discuss the case before filing. No response

was received except that they had received my inquiry. Ms. Wesley’s name was listed as a

named plaintiff at that time. Similarly, prior to filing the Complaint in this case with this Court, I

sent a copy of the Complaint to counsel for the FBI to ask if they wanted to try to resolve the

case pre-filing. See Email to Boente et al, May 9, 2019, Ex. A hereto. That draft complaint

included Erika Wesley as a named plaintiff.

        5.     In conjunction with Plaintiffs’ Motion to Proceed Anonymously, Dkt. 4, 5,

Plaintiffs included declarations from Erika Wesley and her supervisor, Mary Martinez,

describing instances of retaliation in response to Ms. Wesley’s participation in this lawsuit.

These declarations were discussed in Judge Howell’s opinion granting in part the motion to

proceed anonymously. Dkt. 6 at n.3.


        6.     On July 8, 2019, I wrote to Assistant General Counsel Chad Tang, who was the

attorney in Ms. Martinez’s mediation, and reported ongoing concerns about retaliation against

Ms. Martinez, which violated the mediation agreement provision prohibiting retaliation. See

Letter to Chad Tang July 8, 2019, Ex. B hereto. The Martinez Declaration was included with

that submission.




                                                  2
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Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 5 of 26




           EXHIBIT A
        Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 6 of 26


From:               davidshaffer511@gmail.com
To:                 Dboente@fbi.gov; Cobessee@fbi.gov; Marizzo@fbi.gov; "Armstrong, Amy (OGC) (FBI)"
Bcc:                davidshaffer511@gamail.com
Subject:            Paula Bird, et al. v. Barr class action
Date:               Thursday, May 9, 2019 8:56:24 PM
Attachments:        FEDERAL COMPLAINT DRAFT 5.8.19.pdf
Importance:         High


Dear Messrs. Boente and Rizzo, Ms. Bessee and Ms. Armstrong,

As you may know, I represent 17 former New Agent Trainees and Intelligence Analyst Trainees in
their class claims against the Bureau arising out of their experiences at the FBI’s Training Academy at
Quantico.

I ad previously asked whether the FBI would be interested in discussing a potential resolution prior
to litigation, but received no response. Since more than 180 days have elapsed since our filing of the
class complaint before the EEOC, we are now preparing to file in federal court.

Although we have now received funding from the Times’ Up Legal Defense Fund for fees and
expenses for the litigation, we are still willing to sit down and discuss whether this case could benefit
from early negotiation as we have previously done in these type of cases together. I have enclosed
a final draft of the federal complaint for your review.

If you are interested in discussing this prior to our filing in federal court, please let me know by
Friday, May 17, 2019 or we will assume we have no choice but to go forward. If you are interested
in having a meeting to discuss the case, we would hold off for a couple weeks to see if the talks
seem productive.

I would appreciate you acknowledging receipt of this email.

Thank you


David J. Shaffer
Attorney At Law
5012 Auora Dr.
Kensington, Maryland 20895
202-210-7424
Disability and Civil Rights Law
Davidshaffer511@gmail.com
www.davidshafferlaw.com

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           EXHIBIT B
Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 8 of 26
   Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 9 of 26




Moreover, although her Clinical Psychologist as provided medical documentation
that the harassment is causing Ms. Martinez such anxiety and stress that she is
incapacitated from performing her duties , but ASAC Braun has refused to accept
that certification saying that HRD must examine the sufficiency of her
psychologist’s letter, which fully meets the requirements. 5 C.F.R. Section 401,
which states:
      (a) Subject to paragraphs (b) through (e) of this section,
             an agency must grant sick leave to an employee when he or she -
      (2) Is incapacitated for the performance of his or her duties by physical or
      mental illness, injury, pregnancy, or childbirth;


(emphasis added).
  I note that this section is mandatory, stating that the leave “must”
  be granted upon provision of the medical certification, which, in this
  case, fully meets the requirements of OPM and FBI policy. ASAC
  Brown has not explained what is inadequate about Ms. Martinez’ s
  certification and appears to be holding this up so that he can
  continue to harass Ms. Martinez in the office and force her
  resignation.


  The hostile atmosphere and retaliation by Phoenix field office
  management against Ms. Martinez must stop immediately. We have
  filed another retaliation complaint through the EEO process, but we
  are prepared to seek a contempt citation in the current class action
  for interference and intimidation by a federal agent with a witness in
  a federal proceeding based upon the treatment of Ms. Martinez after
  she reported these illegal acts to the IG, OPR and Chief Judge
  Howell.


  I would like to speak with you about an immediate transfer of Ms.
  Martinez to the Las Vegas field office. Failing that, we will be
  seeking our full remedies under Title VII and personally against
  these management officials, in a Bivens action as I did in Rochon v.
  FBI many years ago with great success. As well, the Times Up
  Legal Defense Fund, which is financing the class action has
  expressed interest in funding Ms. Martinez’ s litigation as well
  and will support our contempt motion if necessary.


  We have already met with several members of the House concerning
  these matters and have been told that these members of Congress
  are prepared to hold hearings in these matters and they have ad
Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 10 of 26
Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 11 of 26




           EXHIBIT C
       Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 12 of 26


From:               davidshaffer511@gmail.com
To:                 COBessee@fbi.gov
Cc:                 "Tang, Chad (OGC) (FBI)"
Bcc:                martinezmaryl@hotmail.com
Subject:            Paula Bird, et al v. FBI and Mary Martinez v. FBI.
Date:               Wednesday, July 10, 2019 8:45:16 PM
Attachments:        Chad Tang 7.8.19.pdf
                    Declaration of Mary Martinez.pdf
                    Declaration Signed - Erika Wesley.pdf
                    Eckstein signed declaration (002).pdf




Dear Ms. Bessee,

I am class counsel in Bird v. Barr, as well as in Martinez v. Barr. I am
forwarding the correspondence I have been engaging in with Assistant General
Counsel Chad Tang, as well as the supporting documents for the retaliation
that is currently occurring in the Phoenix Feil Office against one of
typhlitis's in the class action as well as her former supervisor, who
supported her allegations to the IG, OPR and to Judge Howell in Paula B rid
v. Barr, which was formally served on the Attorney General today.

Although Mr. Tang does not have the time to deal with this ongoing severe
retaliation in the Phoenix office., I ask you to commence an immediate
investigation into these issues, as set for the in the attached
correspondence.

As set forth in Congresswoman's Spear's letter to day, this needs the
Bureau's immediate attention. She has also told us to come back to her
immediately if there is further retaliator, which we are prepared to do if
the Bureau does not take immediate action in Phoenix.

I hope to talk to you soon about this matter.

Sincerely,


David J. Shaffer
Attonrey at Law
5012 Aurora Dr.
Kensington, MD 20895
davidshaffer511@gmail.com
www.davidshafferlaw.com
202-201-7424


-----Original Message-----
From: davidshaffer511@gmail.com <davidshaffer511@gmail.com>
Sent: Monday, July 8, 2019 8:44 PM
To: 'Tang, Chad (OGC) (FBI)' <ctang@fbi.gov>
Cc: 'Mary Martinez' <martinezmaryl@hotmail.com>
Subject: RE: Mary Martinez EEO case - settlement agreement: Retaliation in
phoenix Field Office
Importance: High

Dear Chad,
       Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 13 of 26


Please see attached correspondence regarding the retaliation that is
occurring after our settlement. It needs OGC's immediate attention.

I will be contacting you regarding this matter.

David J. Shaffer
Attorney at Law
202-210-7424

-----Original Message-----
From: Tang, Chad (OGC) (FBI) <ctang@fbi.gov>
Sent: Friday, May 17, 2019 11:53 AM
To: David Schaffer <davidshaffer511@gmail.com>
Subject: RE: Mary Martinez EEO case - settlement agreement

David: Thanks for letting me know. Chad

-----Original Message-----
From: David Schaffer [mailto:davidshaffer511@gmail.com]
Sent: Friday, May 17, 2019 11:51 AM
To: Tang, Chad (OGC) (FBI) <ctang@fbi.gov>
Subject: Re: Mary Martinez EEO case - settlement agreement

Thank you. I have no objection.

Sent from my iPhone

> On May 17, 2019, at 11:13 AM, Tang, Chad (OGC) (FBI) <ctang@fbi.gov>
wrote:
>
> David: For Mary Martinez's case, attached for your files is a copy of
> the
signed settlement agreement. I also am writing to confer about the
confidentiality agreement. In this settlement agreement, several terms
would take place after the new SAC, Sean Kaul, arrives in Phoenix. For
example, one of the terms explicitly mentions him. In order to implement
the agreement, we would need to give him information about the agreement,
including the agreement itself. Can you please let me know whether you have
any objection to this? Thank you.
>
> Chad Tang
> Assistant General Counsel
> Federal Bureau of Investigation
> 935 Pennsylvania Avenue, N.W., Room 10140 Washington, D.C. 20535
> Telephone: (202) 324-2390
> Fax: (202) 323-3855
>
> Confidentiality Statement:
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      Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 14 of 26


> <Mary Martinez - settlement agreement 5-14-19.pdf>
Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 15 of 26




           EXHIBIT D
       Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 16 of 26


From:               davidshaffer511@gmail.com
To:                 "Bessee, Cecilia O. (OGC) (FBI)"
Cc:                 "Tang, Chad (OGC) (FBI)" "Broussard, Ed ard M. (OGC) (FBI)"
Bcc:                martinezmaryl@hotmail.com
Subject:             E: Paula Bird, et al v. FBI and Mary Martinez v. FBI.
Date:               Thursday, July 11, 2019 9:10:5 PM




Dear Ms. Beessee,

I understand that you need to do an investigation, for that is exactly
what I am asking for. I stress, however, that time is of the essence since
ASAC Baraun has now placed Ms. Martinez on AWAL status and denied her
request for sick leave.

If we cannot resolve this, or at least have an understanding that Ms.
Martinez is no longer AWOL, by early next week, we will have no option but
to raise it before Judge Jackson in the class action.

I appreciate your prompt attention to this matter.

David J. Shaffer
Attorney at Law
202-210-7424

-----Original Message-----
From: Bessee, Cecilia O. (OGC) (FBI) <COBessee@fbi.gov>
Sent: Thursday, July 11, 2019 5:42 PM
To: davidshaffer511@gmail.com
Cc: Tang, Chad (OGC) (FBI) <ctang@fbi.gov>; Broussard, Edward M. (OGC) (FBI)
<embroussard@fbi.gov>
Subject: RE: Paula Bird, et al v. FBI and Mary Martinez v. FBI.

Mr. Shaffer,
I believe that Chad informed you that he was out of the office and it was
not that he did not have time to deal with your request. He is currently on
travel handling other litigation matters. We are looking into the
allegations and the request that you submitted. As you are aware, we have
to assess all of the information provided as well as consult with our Human
Resources Division and other respective entities here at the FBI before we
can determine what, if any remedy is available to your clients. Thank you.

Cecilia O. Bessee
Acting Deputy General Counsel
Litigation Branch
Office of the General Counsel
Federal Bureau of Investigation
935 Pennsylvania Ave, NW, Room 10140
Washington, DC 20535
Telephone: 202-324-6618
Facsimile: 202-323-2168

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-----Original Message-----
From: davidshaffer511@gmail.com [mailto:davidshaffer511@gmail.com]
Sent: Wednesday, July 10, 2019 8:45 PM
To: Bessee, Cecilia O. (OGC) (FBI) <COBessee@fbi.gov>
Cc: Tang, Chad (OGC) (FBI) <ctang@fbi.gov>
Subject: Paula Bird, et al v. FBI and Mary Martinez v. FBI.

Dear Ms. Bessee,

I am class counsel in Bird v. Barr, as well as in Martinez v. Barr. I am
forwarding the correspondence I have been engaging in with Assistant General
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Although Mr. Tang does not have the time to deal with this ongoing severe
retaliation in the Phoenix office., I ask you to commence an immediate
investigation into these issues, as set for the in the attached
correspondence.

As set forth in Congresswoman's Spear's letter to day, this needs the
Bureau's immediate attention. She has also told us to come back to her
immediately if there is further retaliator, which we are prepared to do if
the Bureau does not take immediate action in Phoenix.

I hope to talk to you soon about this matter.

Sincerely,


David J. Shaffer
Attonrey at Law
5012 Aurora Dr.
Kensington, MD 20895
davidshaffer511@gmail.com
www.davidshafferlaw.com
202-201-7424


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From: davidshaffer511@gmail.com <davidshaffer511@gmail.com>
Sent: Monday, July 8, 2019 8:44 PM
To: 'Tang, Chad (OGC) (FBI)' <ctang@fbi.gov>
Cc: 'Mary Martinez' <martinezmaryl@hotmail.com>
Subject: RE: Mary Martinez EEO case - settlement agreement: Retaliation in
phoenix Field Office
       Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 18 of 26


Importance: High

Dear Chad,

Please see attached correspondence regarding the retaliation that is
occurring after our settlement. It needs OGC's immediate attention.

I will be contacting you regarding this matter.

David J. Shaffer
Attorney at Law
202-210-7424

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Sent: Friday, May 17, 2019 11:53 AM
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David: Thanks for letting me know. Chad

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Thank you. I have no objection.

Sent from my iPhone

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>
> <Mary Martinez - settlement agreement 5-14-19.pdf>
Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 20 of 26




            EXHIBIT E
       Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 21 of 26


From:               Bessee, Cecilia O. (OGC) (FBI)
To:                 davidshaffer511@gmail.com
Cc:                 Tang, Chad (OGC) (FBI) Broussard, Ed ard M. (OGC) (FBI) "Mary Martinez" "Erika Wesley"
Subject:             E: Paula Bird, et al v. FBI and Mary Martinez v. FBI.
Date:               Friday, July 26, 2019 5:02:21 PM




Mr. Shaffer,
Sorry for the delayed response. As your clients are aware, there is FBI policy requiring documentation for specific
leave requests. We have been looking into the allegations and are in discussion with the office. However, we are
not at a stage to make any determination as to what may or may not have occurred. Since we are in litigation, we
should follow the required protocols for these cases. Once properly served, DOJ counsel will be the main POC for
this matter and any discussions will need to include the appropriate counsel. Thank you.

Cecilia O. Bessee
Acting Deputy General Counsel
Litigation Branch
Office of the General Counsel
Federal Bureau of Investigation
935 Pennsylvania Ave, NW, Room 10140
Washington, DC 20535
Telephone: 202-324-6618
Facsimile: 202-323-2168

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To: Bessee, Cecilia O. (OGC) (FBI) <COBessee@fbi.gov>
Cc: Tang, Chad (OGC) (FBI) <ctang@fbi.gov>; Broussard, Edward M. (OGC) (FBI) <embroussard@fbi.gov>;
'Mary Martinez' <martinezmaryl@hotmail.com>; 'Erika Wesley' <erikawesley@gmail.com>
Subject: RE: Paula Bird, et al v. FBI and Mary Martinez v. FBI.
Importance: High

Dear Ms. Bessee,

I am writing to inquire about the status of your investigation.

Boat Ms. Martinez and Ms. Wesley have continued to endure retaliation in the Phoenix Field Office with denial of
documented medical leave for the stress, anxiety and emotional distress caused by the ASAC and SAC in Phoenix.
They continue to demand medical information that is private and refuse to accept my client's use of sick or FMLA,
when we can document that males in that office are not put through these hurdles when they seek sick leave. Some
males are permitted to use sick leave without any documentation whatsoever and are prepared to submit declarations
in support of the Preliminary Injunction we will be seeking if you office does not immediately take action in this
field office.
       Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 22 of 26


Now that I am being joined by Cohen, Milstein, we will add several more attorneys to the case to secure an order
protecting parties and witnesses.

I urge you to give this your immediate attention. Both women are being constructively discharged by Phoenix
management by being forced to quit in light of this harassment.

I would like to set up a meeting with you to discuss this situation.
Please let me know when you would be available to discuss this matter.

Thank you.



David J. Shaffer
Attorney at Law
202-210-7424

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From: Bessee, Cecilia O. (OGC) (FBI) <COBessee@fbi.gov>
Sent: Thursday, July 11, 2019 5:42 PM
To: davidshaffer511@gmail.com
Cc: Tang, Chad (OGC) (FBI) <ctang@fbi.gov>; Broussard, Edward M. (OGC) (FBI) <embroussard@fbi.gov>
Subject: RE: Paula Bird, et al v. FBI and Mary Martinez v. FBI.

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your request. He is currently on travel handling other litigation matters. We are looking into the allegations and the
request that you submitted. As you are aware, we have to assess all of the information provided as well as consult
with our Human Resources Division and other respective entities here at the FBI before we can determine what, if
any remedy is available to your clients. Thank you.

Cecilia O. Bessee
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Litigation Branch
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935 Pennsylvania Ave, NW, Room 10140
Washington, DC 20535
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       Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 23 of 26


Subject: Paula Bird, et al v. FBI and Mary Martinez v. FBI.

Dear Ms. Bessee,

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forwarding the correspondence I have been engaging in with Assistant General
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Subject: RE: Mary Martinez EEO case - settlement agreement: Retaliation in
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Importance: High

Dear Chad,

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       Case 1:19-cv-01581-JMC Document 15-4 Filed 08/02/19 Page 24 of 26


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To: David Schaffer <davidshaffer511@gmail.com>
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-----Original Message-----
From: David Schaffer [mailto:davidshaffer511@gmail.com]
Sent: Friday, May 17, 2019 11:51 AM
To: Tang, Chad (OGC) (FBI) <ctang@fbi.gov>
Subject: Re: Mary Martinez EEO case - settlement agreement

Thank you. I have no objection.

Sent from my iPhone

> On May 17, 2019, at 11:13 AM, Tang, Chad (OGC) (FBI) <ctang@fbi.gov>
wrote:
>
> David: For Mary Martinez's case, attached for your files is a copy of
> the
signed settlement agreement. I also am writing to confer about the
confidentiality agreement. In this settlement agreement, several terms
would take place after the new SAC, Sean Kaul, arrives in Phoenix. For
example, one of the terms explicitly mentions him. In order to implement
the agreement, we would need to give him information about the agreement,
including the agreement itself. Can you please let me know whether you have
any objection to this? Thank you.
>
> Chad Tang
> Assistant General Counsel
> Federal Bureau of Investigation
> 935 Pennsylvania Avenue, N.W., Room 10140 Washington, D.C. 20535
> Telephone: (202) 324-2390
> Fax: (202) 323-3855
>
> Confidentiality Statement:
> This message is transmitted to you by the Office of the General
> Counsel of
the Federal Bureau of Investigation. The message, along with any
attachments, may be confidential and legally privileged. If you are not
the intended recipient of this message, please destroy it promptly without
further retention or dissemination (unless otherwise required by law).
Please notify the sender of the error by a separate e-mail or by calling
202-324-2390.
>
> <Mary Martinez - settlement agreement 5-14-19.pdf>
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            EXHIBIT F
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From:               Williams, Diane D. (DO) (FBI)
To:                 Mary Martinez
Cc:                 davidshaffer511@gmail.com
Subject:             MO esponse, Final Intervie (Mary Martinez, FBI-2019-00275)
Date:               Thursday, July 25, 2019 9: 1:5 M




Good Morning, MS. Martinez and Mr. Shaffer,

As promised, ASAC Braun sent the following written response to your informal complaint, received last evening:
"Phoenix Management is not able to effectuate any of the proposed resolutions. We will wait to address the merits
of the claim until it reaches a more formal stage."

Therefore, given that your informal complaint will not be resolved, I will be issuing you the Notice of Right to File
(NORFT) a formal complaint in a few moments, via email.

Thank you.

Diane

Diane D. Williams
Equal Employment Specialist (EEO Counselor)
FBI, Office of EEO Affairs (OEEOA), Services Unit, EEO Counselors Program
Desk: 202-324-8863
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Fax: 202-324-3976 / Main Office: 202-324-4128
Mailing Address: FBI, 935 Pennsylvania Ave., N.W., OEEOA, Room 9304, Washington, DC 20535
